  Case 2:22-cv-00223-Z Document 82 Filed 02/10/23          Page 1 of 31 PageID 3376



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHING DISTRICT OF TEXAS
                                AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE,                     §
on behalf of itself, its member organizations, their   §
members, and these members’ patients;                  §
AMERICAN ASSOCIATION OF PRO-LIFE                       §
OBSTETRICIANS AND GYNECOLOGISTS,                       §
on behalf of itself, its members, and their patients;  §
AMERICAN COLLEGE OF PEDIATRICIANS,                     §
on behalf of itself, its members, and their patients;  §
CHRISTIAN MEDICAL & DENTAL                             §
ASSOCIATIONS, on behalf of itself, its members,        §
and their patients; SHAUN JESTER, D.O., on             §
Behalf of himself and his patients; REGINA             §
FROST-CLARK, M.D., on behalf of herself and            §
her patients; TYLER JOHNSON, D.O., on behalf           §
of himself and his patients; and GEORGE                §
DELGADO, M.D., on behalf of himself and his            §
patients                                               §
                                                       §
VS.                                                    §       Case No. 2:22-CV-00223-z
                                                       §
U.S. FOOD AND DRUG ADMINISTRATION;                     §
ROBERT M. CALIFF, M.D., in his official                §
capacity as Commissioner of Food and Drugs, U.S. §
Food and Drug Administration; JANET                    §
WOODCOCK, M.D., in her official capacity as            §
Principal Deputy Commissioner, U.S. Food and           §
Drug Administration; PATRIZIA CAVAZZONI,               §
M.D., in her official capacity as Director, Center for §
Drug Evaluation and Research, U.S. Food and Drug §
Administration; U.S. DEPARTMENT OF                     §
HEALTH AND HUMAN SERVICES; and                         §
XAVIER BECERRA, in his official capacity as            §
Secretary, U.S. Department of Health and Human         §
Services                                               §

    BRIEF OF AMICUS CURIAE, SUSAN B. ANTHONY PRO-LIFE AMERICA,
    CATHOLIC HEALTH CARE LEADERSHIP ALLIANCE, THE NATIONAL
 CATHOLIC BIOETHICS CENTER, CATHOLIC BAR ASSOCIATION, CATHOLIC
BENEFITS ASSOCIATION, AND CHRIST MEDICUS FOUNDATION IN SUPPORT OF
          PLANTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23            Page 2 of 31 PageID 3377



                                   TABLE OF CONTENTS


TABLE OF CONTENTS                                                                          ii

TABLE OF AUTHORITIES                                                                       iii

INTERESTS OF AMICA CURIAE                                                                   1

SUMMARY OF THE ARGUMENT                                                                     3

I.       General Principles of Informed Consent                                             5

II.      Because The Clinical Trails Used To Obtain FDA Approval For Mifepristone For
         Abortion Afforded Protections To Patients That Are Not Required By The Drug’s
         Label Or Risk Evaluation And Mitigation Strategy, Conclusions About The Drug’s
         “Safety” Drawn From These Trials Are Legally And Medically Inadequate And
         Cannot From The Basis For Informed Consent.                                        8


III.     Because FDA’s Post-Marketing Restrictions Do Not Require Comprehensive
         Reporting Of Non-Fatal Adverse Events And Both FDA And Mifepristone’s
         Sponsors Have Failed To Demonstrate That Mifepristone’s Adverse Events
         Can Be Reliably Reported, Prescribers Of Mifepristone Cannot Obtain Adequate
         Informed Consent From Their Patients                                             11

IV.      Without Providing In-Person Care, Certified Prescribers Cannot Obtain
         Informed Consent Because They Are Unable to Adequately Diagnose
         Ectopic Pregnancy, Verify Rh Status, Or Detect Other Contraindications to
         Mifepristone, And Thus Cannot Fully Inform A Woman Of Her
         Unique Personal Risks.                                                           16

V.       Informed Consent Cannot Be Obtained Because Without In-Person Care,
         Certified Prescribers Cannot Adequately Screen For Coercion.                     23

CONCLUSION                                                                                25




                                                  ii
  Case 2:22-cv-00223-Z Document 82 Filed 02/10/23              Page 3 of 31 PageID 3378



                                 TABLE OF AUTHORITIES


Cases

Bellotti v. Baird, 433 U.S. 622 (1979)                                                        7

Canterbury v. Spence, 464 F.2d 772 (D.C. 1972)                                          6, 7, 23

Cruzan v. Dir., Mo. Dep’t of Health, 497 U.S. 261, (1990)                                     6


Statutes and Rules

Ala. Code § 26-23E-7                                                                         22

FDCA §505, 21 U.S.C. §355                                                                     4

FDCA §505-1, 21 U.S.C. §355                                                                   4


Treatises and Articles

AAPLOG Committee Op. No. 9, citing Mifepristone U.S. Post-Marketing Adverse Events
Summary through 12/31/2018                                                     13, 16, 24

ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017)                  20

ACOG Practice Bulletin 191: Tubal Ectopic Pregnancy (Feb. 2018)                              19

Alexander M. Capron, “Informed Consent in Catastrophic Disease and Treatment,”
123 U. Pa. L. Rev. 340 (1974)                                                                 5

American Association of Pro-Life Obstetricians and Gynecologists, Committee Op. No. 9:
Dangers of Relaxed Restrictions on Mifepristone (Oct. 2021)                                  12

Atrash H.K., et al. (1990). Ectopic pregnancy concurrent with induced abortion: Incidence and
mortality. American Journal of Obstetrics & Gynecology, 162(3)                                20

Aultman K, Cirucci CA, Harrison DJ, Beran BD, Lockwood MD, Seiler S. Deaths and Severe
Adverse Events after the use of Mifepristone as an Abortifacient from September 2000 to
February 2019. Issues Law Med. 2021                                                  11, 13, 14

Bourassa D, Berube J. The prevalence of intimate partner violence among women
and teenagers seeking abortion compared with those continuing pregnancy.
J Obstet Gynaecol Can 2007                                                                   24



                                               iii
  Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                Page 4 of 31 PageID 3379




Brian Murray, “Informed Consent: What Must a Physician Disclose to a Patient?,”
AMA Journal of Ethics, Virtual Mentor, 563-66 (2012)                                             8

Cirucci, CA, Aultman, K, Harrison, DJ. Mifepristone Adverse Events Identified by Planned
Parenthood in 2009 and 2010 Compared to Those in the FDA Adverse Event
Reporting System and Those Obtained Through the Freedom of Information Act. Health
Services Research and Managerial Epidemiology. 2021                                             14

Citizen petition submitted by the American Association of Pro-Life Obstetricians and
Gynecologists and the American College of Pediatricians on Mar. 29, 2019,
Docket No. FDA-2019-P-1534                                                                      22

Citizen petition submitted by the American Association of Pro-Life Obstetricians and
Gynecologists, the Christian Medical Association, and the Concerned Women for
America on Aug. 2, 2002, Docket No. FDA-2002-P-0364-0001                                         9

Donna Harrison, M.D. & Michael J. Norton Testimony before the Iowa
Board of Medicine, p. 3 (Aug. 21, 2013)                                                         20

Ellertson C., et al. (2000). Accuracy of assessment of pregnancy duration by women seeking
early abortions. Lancet, 355(9207)                                                         19

FDA’s citizen petition response dated Dec. 16, 2021, to the citizen petition submitted by the
American Association of Pro-Life Obstetricians and Gynecologists and the
American College of Pediatricians on Mar. 29, 2019, Docket No. FDA-2019-P-1534                  12

Hall M, Chappell LC, Parnell BL, Seed PT, Bewley S. Associations between intimate partner
violence and termination of pregnancy: a systematic review and meta-analysis. PLoS Med.
2014;11(1):e1001581                                                                       24

Induced abortion and risk of later premature births. J of Am Physicians and Surgeons 2003        4

Informed Consent in Medical Malpractice, 55 Calif.L.Rev. 1396, 1407 n. 68 (1967)                 7

Laura J. Lederer CAW. The health consequences of sex trafficking and their implications
for identifying victims in healthcare facilities. Annals of Health Law. 2014            24, 25

Mifepristone U.S. Post-Marketing Adverse Events Summary through 06/30/2021,
RCM # 2007-525, NDA 020687, ANDA 091178                                                         20

National Women’s Health Network, “Health Facts: Medication Abortion
and Miscarriage,” Aug 15, 2019                                                                  15

Parental Involvement in Minors’ Abortions, Guttmacher Institute (Jan. 1, 2023)                   7




                                                iv
 Case 2:22-cv-00223-Z Document 82 Filed 02/10/23             Page 5 of 31 PageID 3380



President’s Commission for the Study of Ethical Problems in Medicine and
Biomedical and Behavioral Research, Making Health Care Decisions (1982)                    5, 6

“Reproductive and Sexual Coercion,” ACOG Committee on Health Care for Underserved
Women opinion (February 2013; Reaffirmed 2019), No. 554.American
College of Obstetricians and Gynecologists                                                  24

Skop I. Abortion safety: at home and abroad. Issues Law Medicine 2019                        4

SOGC Clinical Practice Guidelines: Prevention of Rh Alloimmunization
(No. 133, Sept. 2003)                                                                       21

The abortion and mental health controversy: A comprehensive literature review of common
ground agreements, disagreements, actionable recommendations, and research
opportunities. SAGE Open Med. 2018 Oct 29                                                    4

U.S. Gov’t Accountability Office, GAO-08-571, Food and Drug Administration: Approval
and Oversight of the Drug Mifeprex Appendices II and III (2008)                             11

U.S. Gov’t Accountability Office, GAO-18-292, Food and Drug Administration:
Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts 4-7 (2018)        4, 11

W. Keeton, D. Dobbs, R. Keeton, & D. Owen, Prosser and Keeton on Law of Torts § 9,
pp. 39-42 (5th ed. 1984)                                                                     6




                                             v
  Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                 Page 6 of 31 PageID 3381



       Susan B. Anthony Pro-Life American, Catholic Health Care Leadership Alliance, The

National Catholic Bioethics Center, Catholic Bar Association, Catholic Benefits Association, and

Christ Medicus Foundation, file this Amicus Brief in support of Plaintiffs’ Complaint (Doc. 1)

and Plaintiff’s Motion for Preliminary Injunction (Doc. 6), and in support shows the following:

                               INTERESTS OF AMICI CURIAE

       Amicas Curae, Susan B. Anthony Pro-Life America is a “pro-life advocacy

organization,” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 153 (2014) (internal quotation

marks omitted), dedicated to ending abortion while protecting the lives of mothers and their babies.

The organization is involved in public education and issue advocacy, working to advance pro-life

laws and health-saving regulatory measures for women, girls, and the unborn through direct

lobbying and grassroots campaigns.

       Amicus Curiae Catholic Health Care Leadership Alliance (CHCLA) is an alliance of

Catholic organizations whose mission is to support the rights of patients and professionals to

receive and provide health care in accordance with the moral, ethical, and social teachings of Jesus

Christ and His Church through ongoing evangelization, education, advocacy, and mutual support.

CHCLA’s allied members include professionals involved in all areas of health care, including

physicians and nurses, as well as practice groups and hospitals. These CHCLA members are

engaged in the active practice of health care on a daily basis, working in both secular and religious

environments, and adhere to Catholic doctrine as their sincerely held religious beliefs. These

members collectively provide medical care to hundreds of thousands of patients across the country.

       Amicus Curiae The National Catholic Bioethics Center (NCBC) is a nonprofit research

and educational institute committed to applying the principles of natural moral law, consistent with

many traditions including the teachings of the Catholic Church, to ethical issues arising in health
  Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                 Page 7 of 31 PageID 3382



care and the life sciences. NCBC is committed to fostering a culture of respect for human life and

human dignity, particularly in the medical context.

       Amicus Curiae Catholic Bar Association (CBar) is a community of legal professionals

that educates, organizes, and inspires its members to faithfully uphold and bear witness to the

Catholic faith in the study and practice of law. The CBar’s mission and purpose include upholding

the principles of the Catholic faith in the practice of law, and assisting the Church in the work of

communicating Catholic legal principles to the legal profession and society at large.

       Amicus Curiae Catholic Benefits Association (“CBA”) is an Oklahoma non-profit limited

cooperative association committed to assisting its Catholic employer members in providing health

coverage to their employees consistent with Catholic values. The CBA provides such assistance

through its website, training webinars, legal and practical advice for member employers, and

litigation services protecting members’ legal and conscience rights. The CBA’s member

employers include 78 Catholic dioceses, over 7000 parishes, over 1300 schools and colleges, as

well as social services agencies, hospitals, senior housing, and closely held for profit employers.

One of the conditions of membership is that the member affirm that its health care coverage

complies with Catholic values.

       Amicus Curiae Christ Medicus Foundation (CMF) was established in 1997 to defend

religious freedom by educating religious and lay leaders on the intersection of health care, the

exercise of faith and religious freedom, and the right to life. For decades, it has led coalitions,

campaigns, and conferences to educate and inform Christ-centered health care decisions. As part

of this mission, CMF helps defend the rights, health, and wellbeing of patients and families through

the Health Care Civil Rights Taskforce and builds momentum around this movement through the

Religious Freedom Campaign.



                                                 2
    Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                           Page 8 of 31 PageID 3383



         In support of Plaintiffs’ Complaint and Motion for Preliminary Injunction, Amici urge this

Court to recognize the profound legal and ethical consequences of the U.S. Food and Drug

Administration’s improvident and illegal approval of chemical abortion drugs, and in particular its

failure to implement or enforce safeguards necessary to ensure adequate, informed consent for

women who use such drugs.

                                   SUMMARY OF THE ARGUMENT

         The requirement that a healthcare provider obtain a competent patient’s informed consent

before treatment is firmly established in both law and medical ethics. Section I lays out the general

principles of the doctrine of informed consent, which both protects patient well-being and

autonomy and promotes and protects the physician-patient relationship. To consent (or refuse

consent) to a treatment or procedure, a patient must have capacity to make a decision. If the patient

does not have sufficient capacity, for example in the case of minors, consent from a parent or legal

guardian is necessary to obtain. Next, in order to make an intelligent decision, the patient’s decision

must be based on an adequate disclosure of the diagnosis, the proposed treatment, its benefits, its

risks, and its alternatives. Finally, the patient, having capacity and being duly informed, must

consent to the treatment or procedures without coercion or duress.

         The fundamental principles of informed consent, which protect both patients and medical

professionals, cannot be met when healthcare providers prescribe mifepristone,1 for many reasons




1
 Unless otherwise stated, references to mifepristone in this brief apply to both Mifeprex and its generic, which have
shared a REMS since April 11, 2019. Mifeprex and generic mifepristone are sponsored and manufactured by Danco
Laboratories and GenBioPro, respectively. Also, unless otherwise stated, any reference to the mifepristone REMS
applies      to     the       REMS         shared       by        Mifeprex       and      the       generic.      See,
https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390. All cited FDA
documents can be found at https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
providers/information-about-mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation.

                                                          3
    Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                             Page 9 of 31 PageID 3384



including those explained in this brief. Mifepristone is dangerous2 for women when used for

abortion (i.e., for the purpose of ending the life of a developing unborn human being),3 as is the

FDA-approved chemical abortion regimen that combines the use of mifepristone with the drug

misoprostol.4 Because of the drug’s risks, mifepristone’s availability is limited by an FDA-

imposed Risk Evaluation and Mitigation Strategy (REMS) with post-marketing elements to assure

safe use (ETASU).5 However, as amici explain in this brief, these post-marketing requirements

were substantially weakened, to the detriment of women and girls, in 20166 and 2023.7 While the




2
   Mifepristone, when used to end a pregnancy, carries risks of life-threatening hemorrhage, infection, continued
pregnancy (necessitating additional drugs or surgery), retained tissue, need for emergency surgery, and death. See
2023 mifepristone label, https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
3
  All abortions are dangerous, carrying risks of physical and mental health complications and a negative impact on
future pregnancies. See Skop I. Abortion safety: at home and abroad. Issues Law Medicine 2019;34:43-75; Reardon
DC. The abortion and mental health controversy: A comprehensive literature review of common ground agreements,
disagreements, actionable recommendations, and research opportunities. SAGE Open Med. 2018 Oct
29;6:2050312118807624.                doi:          10.1177/2050312118807624.               eCollection            2018.
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6207970/; Rooney B, Calhoun BC. Induced abortion and risk of later
premature births. J of Am Physicians and Surgeons 2003;8(2):46-49.
4
  The terms “FDA-approved chemical abortion regimen,” “FDA-approved regimen,” “medication abortion,” “medical
abortion,” “chemical abortion,” and “drug-induced abortion” [or termination of pregnancy] share the same meaning
(unless otherwise stated) and refer to the use of abortion-inducing drugs, rather than surgery, to induce abortion.
5
  Before the United States Food and Drug Administration (FDA) approves a drug, an applicant (i.e., the drug’s sponsor
and/or manufacturer) must make certain demonstrations regarding the drug’s safety and efficacy “for use under the
conditions prescribed, recommended, or suggested in the proposed labeling.” FDCA § 505, 21 U.S.C. § 355. When
FDA determines that protocols are “necessary to ensure that the benefits of the drug outweigh the risks,” FDA may
require a Risk Evaluation and Mitigation Strategy (REMS). If the drug can only be approved with specific safeguards,
the REMS includes elements to assure safe use (ETASU). FDCA § 505-1, 21 U.S.C. § 355-1. REMS with ETASU
may be weakened, strengthened, or removed following the submission of a proposal from the drug manufacturer or
on the initiative of the Secretary of Health and Human Services. Id.
6
  In 2016, with minimal scientific data, FDA increased the maximum gestational age for mifepristone use for abortion
from 49 days (7 weeks) gestation to 70 days (10 weeks) gestation. Additional 2016 changes that continue to jeopardize
women’s health include allowing home administration of mifepristone and misoprostol, permitting non-physicians to
become certified prescribers, and a decrease from three to one mandatory office visits by the patient. Perhaps most
damaging, FDA removed the requirement that prescribers report to Danco Laboratories or GenBioPro, the sponsors
(i.e., manufacturers) of mifepristone, all serious adverse events associated with mifepristone; today they are only
required to report deaths. See U.S. Gov’t Accountability Office, GAO-18-292, Food and Drug Administration:
Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts 4-7 (2018); Mifepristone Shared System
REMS, https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2021_05_14_REMS_Full.pdf.
7
  In 2023, FDA removed the requirement that mifepristone be dispensed in-person and only in certain health care
settings. Mifepristone may now be dispensed by or under the supervision of a certified prescriber or by a certified
pharmacy after receiving a prescription issued by a certified prescriber. Certified pharmacies are also permitted to ship
mifepristone. See, Questions and Answers on Mifepristone for Medical Termination of Pregnancy Through Ten
Weeks Gestation, available at https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
providers/questions-and-answers-mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation.

                                                           4
    Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                      Page 10 of 31 PageID 3385



REMS with ETASU still contains explicit informed consent requirements, including the

requirement that certified prescribers “ensure that the Patient Agreement Form is reviewed with

the patient and the risks of the mifepristone treatment regimen are fully explained,”8 amici believe

that this is wholly inadequate to constitute a basis for genuine informed consent.

          Section II explains that informed consent cannot be properly obtained because the clinical

studies used to obtain FDA approval afforded protections to patients that are not required by the

drug’s label or Risk Evaluation and Mitigation Strategy. Therefore, conclusions about the drug’s

“safety” drawn from these trials cannot predict the safety of the drug when used by patients outside

of a clinical trial. Section III explains that informed consent cannot be obtained because FDA’s

post-marketing restrictions do not require reporting of non-fatal adverse events and both FDA and

mifepristone’s sponsors have failed to demonstrate that mifepristone’s adverse events can be

reliably reported by other means. Section IV explains that prescribing healthcare providers cannot

obtain informed consent, without providing in-person care, because they are unable to adequately

diagnose ectopic pregnancy, verify Rh status, or detect other contraindications to mifepristone.

Section V explains that informed consent cannot be obtained because, without in-person care,

prescribing healthcare providers cannot adequately determine whether the patient is giving free

consent without coercion or duress.

     I.      General Principles of Informed Consent.

          The requirement that a healthcare provider must obtain a patient’s consent before treatment

but after informing the patient about the nature of the proposed treatment and its benefits, risks,

and alternatives is firmly established in law and medical ethics.9 Indeed, the principle is so


8
 Patient Agreement Form (updated Jan. 2023).
9
 See generally Alexander M. Capron, “Informed Consent in Catastrophic Disease and Treatment,” 123 U. Pa. L. Rev.
340 (1974); 1 President’s Commission for the Study of Ethical Problems in Medicine and Biomedical and Behavioral
Research, Making Health Care Decisions (1982) (hereafter 1982 President’s Commission Report).

                                                       5
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                         Page 11 of 31 PageID 3386



fundamental that it has constitutional dimensions.10 Originally established in common law, the

right to consent or refuse medical treatment is rooted in bodily integrity.11 This is a long-standing

principle in tort law; if proper consent is not obtained, the treatment is a battery (an unwanted

touching).12 To avoid committing a battery, a physician, before treating a patient, must obtain

informed, voluntary consent.13 Generally, a physician must disclose to the patient accurate

information about the nature, risks, benefits, and alternatives to the procedure or treatment in

question.14 The patient must have capacity to make a decision,15 and make that decision freely and

without coercion.16

         Crucial to fully informed consent is an adequate disclosure of the patient’s medical

condition, and the risks and benefits of the proposed medical treatment. In the landmark case,

Canterbury v. Spence,17 the United States Court of Appeals for the District of Columbia Circuit

held that “[t]he topics importantly demanding a communication of information are the inherent

and potential hazards of the proposed treatment, the alternatives to that treatment, if any, and the

results likely if the patient remains untreated.” The court further explained that “[t]he factors

contributing significance to the dangerousness of a medical technique are, of course, the incidence

of injury and the degree of the harm threatened. A very small chance of death or serious

disablement may well be significant; a potential disability which dramatically outweighs the

potential benefit of the therapy or the detriments of the existing malady may summons discussion


10
   See, e.g., Cruzan v. Dir., Mo. Dep’t of Health, 497 U.S. 261, 278–79 (1990) (holding that a competent person has a
liberty interest under the Due Process Clause to refuse unwanted medical treatment).
11
   See W. Keeton, D. Dobbs, R. Keeton, & D. Owen, Prosser and Keeton on Law of Torts § 9, pp. 39-42 (5th ed.
1984).
12
   Id.
13
   See id. at 189-192.
14
   Id. Exceptions exist for such required disclosure, e.g., in the case of an emergency. Id. at 192.
15
   See 1982 President’s Commission Report pp. 169-75.
16
   Id. at p. 63 (“a consent forced by threats or induced by fraud or misrepresentation is legally viewed as no consent
at all”).
17
   464 F. 2d 772 (D.C. 1972).

                                                          6
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                        Page 12 of 31 PageID 3387



with the patient.”18 In other words, the court agreed that "‘[a] risk is thus material when a

reasonable person, in what the physician knows or should know to be the patient's position, would

be likely to attach significance to the risk or cluster of risks in deciding whether or not to forego

the proposed therapy.’"19 Likewise, the American Medical Association Principles of Medical

Ethics provide:


         Informed consent to medical treatment is fundamental in both ethics and law.
         Patients have the right to receive information and ask questions about
         recommended treatments so that they can make well-considered decisions about
         care. Successful communication in the patient-physician relationship fosters trust
         and supports shared decision making….20

         Additionally, the requirement that the patient have capacity to provide informed consent

has special application in the context of minors. As a general rule, before the age of majority a

minor does not possess legal capacity to provide consent to medical treatment or procedures, and

consent must be obtained from the patient’s parent or legal guardian. In the context of abortion,

although parents may not have an absolute veto of their minor daughter’s decision,21 the majority

of states require parental notice or consent before a minor may obtain an abortion.22 And of course

the parent’s consent must be fully informed as well.

         Finally, the doctrine of informed consent also benefits the medical profession. At a

minimum, of course, it reduces the likelihood of potential legal liability. But the doctrine of




18
   Id. at 787-88.
19
   Id. at 787, citing Comment, Informed Consent in Medical Malpractice, 55 Calif.L.Rev. 1396, 1407 n. 68 (1967).
20
     AMA Code of medical ethics opinions on consent, communication & decision making, available
at https://www.ama-assn.org/system/files/2019-06/code-of-medical-ethics-chapter-2.pdf.
21
   Bellotti v. Baird, 433 U.S. 622 (1979).
22
    See generally Parental Involvement in Minors’ Abortions, Guttmacher Institute (Jan. 1, 2023), available at
https://www.guttmacher.org
/state-policy/explore/parental-involvement-minors-abortions (summarizing state laws; only 36 states require parental
involvement).

                                                         7
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                        Page 13 of 31 PageID 3388



informed consent also promotes “trust and confidence” and encourages better interactions”

between the patient and her physician.23

      II.      Because The Clinical Trials Used To Obtain FDA Approval For Mifepristone For
               Abortion Afforded Protections To Patients That Are Not Required By The Drug’s
               Label Or Risk Evaluation And Mitigation Strategy, Conclusions About The
               Drug’s “Safety” Drawn From These Trials Are Legally And Medically
               Inadequate And Cannot Form The Basis For Informed Consent.

            Applicants seeking approval for a drug from FDA must conduct “investigations, reports of

which are required to be submitted to the Secretary [which] include adequate tests by all methods

reasonably applicable to show whether or not such drug is safe for use under the conditions

prescribed, recommended, or suggested in the proposed labeling thereof.”24 This requirement is

necessary for prescribers and their patients to know how the drug will impact patient safety outside

of the controlled environment in clinical studies. However, the “conditions” in the U.S. Trial

afforded protections that are not and have never been required by mifepristone’s label or REMS.

            In the U.S clinical trial, transvaginal ultrasonography, with menstrual history and pelvic

examination, was used to confirm the gestational age of each pregnancy and exclude women with

ectopic pregnancies. Further, the prescribers were physicians experienced in performing surgical

abortions, training in the administration of abortion drugs, and possessing admitting privileges at

medical facilities that could provide emergency care and hospitalization. Also, all patients were




23
   Morgan, at 365. See also Brian Murray, “Informed Consent: What Must a Physician Disclose to a Patient?,” AMA
Journal of Ethics, Virtual Mentor, 563-66 (2012), available at https://journalofethics.ama-assn.org/article/informed-
consent-what-must-physician-disclose-patient/2012-07.
24
   21 U.S.C. § 355(d).

                                                         8
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                    Page 14 of 31 PageID 3389



required to be within one hour of emergency facilities or the facilities of the principal investigator,

and women were monitored for four hours for adverse events after taking misoprostol.25

         None of these conditions, all of which are critical to protecting the health and safety of

women using mifepristone (see the discussion in Section IV of the need for ultrasound prior to

chemical abortion and provider availability in post-abortion emergencies), have been part of the

mifepristone post-marketing requirements. Therefore, FDA should never have relied upon the

conclusions about mifepristone’s safety drawn from the U.S. clinical trial as a basis to approve

mifepristone under its 2000 label. FDA has not fully apprised prescribers or patients of the risks

posed by the FDA-approved regimen because clinical trials did not reflect the manner in which

the drugs are actually prescribed.

         Recently, FDA has again relied upon clinical studies that afford more protections than

required by the mifepristone label or REMS to further eviscerate the already insufficient

safeguards for women. On December 16, 2021, FDA removed the REMS “in-person dispensing

requirement,” a change that became permanent in 2023. FDA based its decision on a “review of

information from the Mifepristone REMS Program one-year (1st) REMS assessment data and

postmarketing safety information, and supported by [FDA] review of the published literature.”26

However, the available “safety information” provided by the sponsors or through FAERS failed

to demonstrate that any postmarketing restrictions ensure the safety of mifepristone and certainly




25
   See Citizen petition submitted by the American Association of Pro-Life Obstetricians and Gynecologists, the
Christian Medical Association, and the Concerned Women for America on Aug. 2, 2002, Docket No. FDA-2002-P-
0364-0001 at 75-76.
26
   2021 CP Response at 25.

                                                      9
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                         Page 15 of 31 PageID 3390



did not support further curtailing the REMS (see the discussion in Section III of the inadequacy of

adverse events reporting). Regarding the studies27 that FDA relied upon, FDA acknowledged that

         …the ability to generalize the results of these studies to the United States population
         is hampered by differences between the studies with regard to pre-abortion care
         (e.g., telemedicine versus in-person). In addition, the usefulness of the studies is
         limited in some instances by small sample sizes and lack of follow-up information
         on outcomes with regard to both safety and efficacy. There are also factors which
         complicate the analysis of the dispensing element alone. Some of these factors are:
         (1) only a few studies have evaluated alternatives for in-person dispensing of
         mifepristone in isolation (for example, most studies on mail dispensing of
         mifepristone also include telemedicine consultation); and (2) because most serious
         adverse events with medical abortion are infrequent, further revaluation of changes
         in dispensing would require studies with larger numbers of participants.28 We did
         not find any large clinical studies that were designed to collect safety outcomes in
         healthcare systems similar to the United States.29

      Yet, “despite the limitations of the studies,” FDA erroneously concluded that “overall the

outcomes of these studies are not inconsistent” with FDA’s conclusion that “based on the 1st year

REMS assessment report and postmarketing safety data, mifepristone will remain safe … if the in-

person dispensing requirement is removed from the Mifepristone REMS Program.”30

         Simply stated, in making the determination that it is safe to remove the in-person

dispensing requirements from the mifepristone REMS, FDA relied upon data from the “woefully




27
   Deficiencies in studies supporting mail order pharmacies: (1) Grossman: only an interim analysis; women have an
in-person clinical assessment before receiving the drugs through the mail, which is not the model that is predominately
being promoted and used; (2) Upadhyay: FDA acknowledges that “determining outcomes at 3 days is insufficient to
determine outcome rates or safety findings because a 3-day follow-up period is too short;” “the study used a model
with numerous deviations from standard provision of medical abortion in the United States…;” “limited follow-up
information, and small sample size;” (3) Hyland: FDA states that there is insufficient detail about adverse events;
“reported frequency of hospitalizations (3 percent) is higher than the less than 1 percent in the FDA-approved
mifepristone labeling….” See 2021 CP Response at 30-31. Observations from studies supporting clinic dispensing by
mail that advise against removing in-person dispensing requirements: “Study reports of Raymond, Chong, and
Kerestes all suggest there may be an increase in ED/urgent care visits with telemedicine visits and dispensing by mail
from the clinic….Anger’s comparative analysis suggests a pre-abortion examination may decrease the occurrence of
procedural intervention and decrease the number of unplanned visits for postabortion care.” 2021 CP Response at 33.
28
   Again, FDA cannot know that “most serious adverse events with medical abortion are infrequent,” because adverse
events are grossly underreported.
29
   2021 CP Response at 29.
30
   Id.

                                                         10
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                   Page 16 of 31 PageID 3391



inadequate”31 FDA Adverse Event Reporting System buttressed by studies the FDA acknowledges

are so problematic that their results cannot be generalized to the United States population. Such a

basis cannot support any decision that purports to rest on science, reason, and concern for patients’

well-being, and it certainly does not provide a basis for sufficient informed consent.

      III.      Because FDA’s Post-Marketing Restrictions Do Not Require Comprehensive
                Reporting Of Non-Fatal Adverse Events And Both FDA And Mifepristone’s
                Sponsors Have Failed To Demonstrate That Mifepristone’s Adverse Events Can
                Be Reliably Reported, Prescribers Of Mifepristone Cannot Obtain Adequate
                Informed Consent From Their Patients.

             In order for a healthcare provider to adequately inform patients as to risks of a treatment or

procedure, those risks must be known. FDA’s post-marketing surveillance of an approved drug is

crucial to ensure the drug’s continued safety and to recognize new safety concerns.32 As a

condition of mifepristone’s original approval in 2000, FDA required certified prescribers to report

to the sponsor (i.e., manufacturer), Danco, any serious adverse event associated with

mifepristone.33 However, in 2016, FDA modified the mifepristone REMS with ETASU,

eliminating the reporting requirement for non-fatal adverse events. Certified prescribers are only

required to report deaths to the sponsor (today there are two sponsors—Danco and GenBioPro).34

      The sponsors are still required under FDA regulations to transmit any adverse event reports

(AERs) that they receive from prescribers, other healthcare professionals, or patients to FDA




31
   See Aultman K, Cirucci CA, Harrison DJ, Beran BD, Lockwood MD, Seiler S. Deaths and Severe Adverse Events
after the use of Mifepristone as an Abortifacient from September 2000 to February 2019. Issues Law Med.
2021;36(1):3-26 at 26.
32
   Questions and Answers on FDA’s Adverse Event Reporting System (FAERS), How Does FDA Use the Information
in FAERS?, available at https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-adverse-event-
reporting-system-faers.
33
    Memorandum from FDA to NDA 20-687 MIFEPREX (mifepristone) Population Council (Sept. 28, 2000),
http://wayback.archive-
it.org/7993/20161024033545/http:/www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationfo
rPatientsandProviders/ucm111366.pdf; U.S. Gov’t Accountability Office, GAO-08-571, Food and Drug
Administration: Approval and Oversight of the Drug Mifeprex Appendices II and III (2008).
34
   See U.S. Gov’t Accountability Office, GAO-18-292; Mifepristone Shared System REMS.

                                                      11
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                           Page 17 of 31 PageID 3392



through the FDA Adverse Event Reporting System (FAERS).35 However, because FDA only

requires prescribers to report deaths to the sponsors, Danco and GenBioPro are unlikely to receive

many such reports of other adverse events and therefore have little to report to FDA.36

      Patients and all healthcare providers, including emergency room doctors or other providers

who handle complications from abortion-inducing drugs that they did not prescribe, are not

required to report adverse events to the sponsors.37 They may report adverse events directly to

FDA through the MedWatch website.38 However, the reporting is entirely voluntary,39 and

therefore data from that program cannot adequately or accurately apprise anyone of the risks of

such drugs.

         The reality is that the removal of the requirement to report non-fatal adverse events results

in vastly undercounted AERs and other complications caused by the FDA regimen,40 thus skewing

the safety profile of the drugs and resulting in incomplete and inaccurate information on which to

rely for informed consent purposes. Prescribers and patients who are ignorant of the actual risks

of the chemical abortion regimen cannot participate in genuine informed consent decision-making.




35
   See FDA’s citizen petition response dated Dec. 16, 2021, to the citizen petition submitted by the American
Association of Pro-Life Obstetricians and Gynecologists and the American College of Pediatricians on Mar. 29, 2019,
Docket No. FDA-2019-P-1534 at 20-21; Questions and Answers on FDA's Adverse Event Reporting System
(FAERS), Who sends reports to FAERS?, https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-
adverse-event-reporting-system-faers.
36
   FDA disingenuously states that Danco and GenBioPro “report adverse events, including serious adverse events, to
FDA in accordance with applicable regulations.” 2021 CP Response at 27, citing 21 CFR 314.98, 21 CFR 314.80, and
21 CFR 314.81. However, the sponsors cannot report adverse events to FDA that are not first reported to them.
37
   In any case, as explained below, many such providers may not even be aware that a patient is experiencing
complications from a medication abortion because the patients are instructed to hide the fact that they took an abortion-
inducing drug.
38
   MedWatch is the FDA’s medical product safety reporting program for health professionals, patients and consumers.
Information     submitted     through     MedWatch      is    reflected     in     the     FAERS        database.     See
https://www.fda.gov/safety/medwatch-fda-safety-information-and-adverse-event-reporting-program.
39
   See 2021 CP Response at 20-21.
40
   See American Association of Pro-Life Obstetricians and Gynecologists, Committee Op. No. 9: Dangers of Relaxed
Restrictions on Mifepristone (Oct. 2021).

                                                          12
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                    Page 18 of 31 PageID 3393



         For example, emergency room doctors or other non-prescribing healthcare providers

handle most hemorrhages from drug-induced abortion.41 An analysis of AERs for mifepristone

submitted to FDA from September 2000 to February 2019 using the National Cancer Institute’s

Common Terminology Criteria for Adverse Events (CTCAEv3) showed that fewer than 40% of

surgeries to remove retained tissue after drug-induced abortion are done by abortion providers

themselves.42 Yet, the information in the AERs is “almost exclusively obtained from abortion

providers, rather than the physician treating the complication.”43 This demonstrates that the

sponsors likely do not know about (and therefore report to FAERS) most hemorrhages because

non-prescribing doctors (such as emergency room physicians) are not required to report them.44

This problem is exacerbated by the limited to nonexistent follow-up performed by abortion

providers after chemical abortion, aggravated by the fact that such follow-up is advised but not

explicitly required by the REMS.

         There is ample support for the conclusion that AERs are significantly underreported. In its

October 2021 position paper on the “Dangers of Relaxed Restrictions on Mifepristone,” the

American Association of Pro-Life Obstetricians and Gynecologists (AAPLOG) warned:

         There is reason to believe that adverse events are underreported. The FDA estimates
         that 3.7 million medication abortions occurred between 2000 and 2018. If the rate
         of serious adverse events such as emergency room visit is posited to be a
         conservative 2%, then approximately 74,000 complications would be documented.
         Two analyses examined the adverse event reports (AERs) between 2000 to 2019
         and documented 607 and 3,197 events. This total of 3,804 AERs suggests that the
         FDA received only 5% of an estimated 74,000 serious adverse events.45


41
   Aultman K, Cirucci CA, Harrison DJ, Beran BD, Lockwood MD, Seiler S. Deaths and Severe Adverse Events after
the use of Mifepristone as an Abortifacient from September 2000 to February 2019. Issues Law Med. 2021;36(1):3-
26.
42
   Id.
43
   Id.
44
   See Aultman, supra.
45
    AAPLOG Committee Op. No. 9, citing Mifepristone U.S. Post-Marketing Adverse Events Summary through
12/31/2018. In:2018; Upadhyay UD, Desai S, Zlidar V, et al. Incidence of emergency department visits and
complications after abortion. Obstet Gynecol. 2015;125(1):175-183; Gary MM, Harrison DJ. Analysis of severe

                                                      13
 Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                        Page 19 of 31 PageID 3394




Further, in their study of nearly 20 years of AERs submitted to FDA, Aultman et al. concluded:

        The FDA Adverse Event Reporting System is woefully inadequate to determine the
        post-marketing safety of mifepristone due to its inability to adequately assess the
        frequency or severity of adverse events. The reliance solely on interested parties to
        report, the large percentage of uncodable events, the redaction of critical clinical
        information unrelated to personally identifiable information, and the inadequacy of
        the reports highlight the need to overhaul the current AER system.46

    In another study, Cirucci et al. compared 2009 and 2010 AERs reported through FAERS, those

provided by FDA via a Freedom of Information Act (FOIA) request, and those identified by

Cleland et al. as having occurred at Planned Parenthood. While Planned Parenthood only performs

37% of U.S. abortions, the Cleland study identified 1,530 Planned Parenthood mifepristone cases

with AEs, while FAERS only identified 664 from all providers and FDA only released 330 AERs

through FOIA.47 These discrepancies again demonstrate that the AER reporting system is broken

and cannot be relied upon to guarantee that all potential adverse events caused by or associated

with mifepristone use are known.

    Further decreasing the likelihood that AEs are reliably reported, some mifepristone prescribers

blatantly encourage their patients to hide their consumption of abortion-inducing drugs if they are

treated by other healthcare professionals for complications. Before FDA made changes to the

mifepristone prescribing information and Patient Agreement Form in January 2023, the

mifepristone label instructed prescribers to “[a]dvise the patient to take the Medication Guide with

her if she visits an emergency room or a healthcare provider who did not prescribe Mifeprex, so

that the provider knows that she is undergoing a medical abortion.”48 Also, the Patient Agreement


adverse events related to the use of mifepristone as an abortifacient. Ann Pharmacother. 2006;40(2):191-197;
Aultman, supra.
46
   Aultman, supra.
47
   Cirucci, CA, Aultman, K, Harrison, DJ. Mifepristone Adverse Events Identified by Planned Parenthood in 2009
and 2010 Compared to Those in the FDA Adverse Event Reporting System and Those Obtained Through the Freedom
of Information Act. Health Services Research and Managerial Epidemiology. 2021; Vol. 8: 1-5.
48
   2016 Mifeprex label.

                                                     14
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                       Page 20 of 31 PageID 3395



Form required by the REMS had stated: “I have the MEDICATION GUIDE for mifepristone. I

will take it with me if I visit an emergency room or a healthcare provider who did not give me

mifepristone so that they will understand that I am having a medical abortion with mifepristone.”49

Yet, some mifepristone prescribers blatantly violated FDA protocol, instructing their patients to

lie to emergency medical personnel. The organization Aid Access instructs patients that if they

need to go to an emergency room:

         You do not have to tell the medical staff that you tried to induce an abortion; you
         can tell them that you had a spontaneous miscarriage. Doctors have the obligation
         to help in all cases and know how to handle a miscarriage. The symptoms of a
         miscarriage and an abortion with pills are exactly the same and the doctor will not
         be able to see or test for any evidence of an abortion, as long as the pills have
         completely dissolved.50

      Tragically, FDA’s 2023 changes further enable this deception: prescribers are no longer

directed to instruct their patients to take the medication guide with them when seeking emergency

treatment, and patients are no longer directed in the Patient Agreement Form to take the medication

guide with them. This change undermines emergency healthcare providers’ ability to appropriately

care for their patients and decreases the likelihood that adverse events will be reported.

         Adverse event reports are FDA’s only objective means to obtain data on the full range of

effects of the FDA-approved regimen on women. Responsible reporting is a fundamental safety



49
                         2016                      Patient                    Agreement                       Form,
https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2021_05_14_Patient_Agreement_Form.pdf.
50
    Aid Access, How do you know if you have complications, and what should you do?,
https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-what-should-you-do. Notably,
FDA issued a Warning Letter to Aidaccess.org in 2019 for “causing the introduction of a misbranded and unapproved
new drug into interstate commerce.” See https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
investigations/warning-letters/aidaccessorg-575658-03082019. Aid Access continues mailing abortion pills within the
U.S. regardless of laws. https://aidaccess.org/en/i-need-an-abortion.Other abortion advocates are similarly advising
women to deceive emergency care providers. See Women on Waves video link here at 1:54,
https://www.womenonweb.org/en/page/11873/how-to-do-an-abortion-with-pills; See Plan C, “Can I get in trouble for
using abortion pills?” https://www.plancpills.org/guide-how-to-get-abortion-pills#faq:; See National Women’s Health
Network, “Health Facts: Medication Abortion and Miscarriage,” Aug 15, 2019. https://nwhn.org/abortion-pills-vs-
miscarriage-demystifying-experience/; See Renee Bracey Sherman (Sept. 1, 2021) sharing advice by We Testify (Oct.
27, 2020), https://twitter.com/RBraceySherman/status/1433039653217652736.

                                                        15
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                    Page 21 of 31 PageID 3396



mechanism that should not be sacrificed in the interest of increasing the availability of an elective

drug.51 Because FDA’s post-marketing restrictions do not require comprehensive reporting of

adverse events and both FDA and mifepristone’s sponsors have failed to demonstrate that adverse

events can be reliably reported, it is impossible for FDA to provide accurate and complete

information to prescribers that is necessary to obtain truly authentic informed consent. In turn,

prescribers cannot fully inform their patients of the risks caused by or associated with mifepristone

use, rendering it impossible for patients to “make well-considered decisions about care.”52

      IV.      Without Providing In-Person Care, Certified Prescribers Cannot Obtain
               Informed Consent Because They Are Unable To Adequately Diagnose Ectopic
               Pregnancy, Verify Rh Status, Or Detect Other Contraindications To
               Mifepristone, And Thus Cannot Fully Inform A Woman Of Her Unique Personal
               Risks.

            In order to obtain genuine informed consent, a healthcare provider must inform the patient

of the medical condition necessitating the proposed treatment or procedure and must also explain

any risks, such as those related to contraindications or conditions that increase the likelihood of

the patient’s risk. However, FDA does not require certified prescribers of mifepristone to

adequately screen their patients for potential risks, which means that they cannot satisfy this

requirement. A certified prescriber who merely consults with a patient though video, phone, or

email, which is now explicitly permitted by FDA,53 cannot accurately assess the duration of a

patient’s pregnancy, diagnose ectopic pregnancy, or even establish a provider-patient relationship

that empowers patients to trust the prescriber or the prescriber’s designee for care in an emergency.




51
   See AAPLOG Committee Op. No. 9.
52
   AMA Code of medical ethics opinions on consent, communication & decision making, supra.
53
   See Questions and Answers on Mifepristone for Medical Termination of Pregnancy Through Ten Weeks Gestation,
available at https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/questions-and-
answers-mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation.

                                                      16
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                 Page 22 of 31 PageID 3397



           The existing REMS acknowledges the importance of a healthcare provider’s ability to

identify increased risks, such as the presence of an ectopic pregnancy, because it provides that the

sponsors must ensure that “healthcare providers who prescribe their mifepristone are specially

certified in accordance with the requirements described [in the REMS] and de-certify healthcare

providers who do not maintain compliance with certification requirements.”54 In turn, the REMS

requires healthcare providers who wish to be certified to sign a Prescriber Agreement Form

stating: “you agree that you meet the qualifications [] and will follow the guidelines for use. You

are responsible for overseeing implementation and compliance with the Mifepristone REMS

program. You also understand that if the guidelines [] are not followed, the distributor may stop

shipping mifepristone to the locations that you identify and certified pharmacies may stop

accepting your mifepristone prescriptions.”55 The qualifications and guidelines are listed on the

form:

           Mifepristone must be provided by or under the supervision of a certified prescriber
           who meets the following qualifications:
           ● Ability to assess the duration of pregnancy accurately.
           ● Ability to diagnose ectopic pregnancies.
           ● Ability to provide surgical intervention in cases of incomplete abortion or
               severe bleeding, or have made plans to provide such care through others, and
               be able to assure patient access to medical facilities equipped to provide blood
               transfusions and resuscitation, if necessary.
           ● Has read and understood the Prescribing Information of mifepristone….
           In addition to meeting these qualifications, you also agree to follow these guidelines
           for use:
           ● Ensure that the Patient Agreement Form is reviewed with the patient and the
               risks of the mifepristone treatment regimen are fully explained. Ensure any
               questions the patient may have prior to receiving mifepristone are answered.
           ● Ensure that the healthcare provider and patient sign the Patient Agreement
               Form.
           ● Ensure that the patient is provided with a copy of the Patient Agreement Form
               and the Medication Guide.
           ● Ensure that the signed Patient Agreement Form is placed in the patient’s
               medical record.

54
     Mifepristone Shared System REMS (updated Jan. 2023).
55
     Prescriber Agreement Form (updated Jan. 2023).

                                                       17
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                Page 23 of 31 PageID 3398



           ● Ensure that any deaths of patients who received mifepristone are reported to
              [sponsor], identifying the patient by a non-identifiable patient reference and
              including the NDC and lot number from the package of mifepristone that was
              dispensed to the patient.
           Ensure that healthcare providers under your supervision follow the guidelines listed
           above….

           The prescriber qualification requirements and guidelines regarding a provider’s abilities in

the REMS are meaningless, however, if a prescriber does not actually utilize these skills in the

care of a patient. What good is a healthcare provider’s ability to diagnose an ectopic pregnancy,

for example, if the healthcare provider does not examine the patient and perform the diagnostic

testing to determine if she has an ectopic pregnancy? It is a toothless requirement which does

nothing to promote the safety of women consuming these drugs. Further, a certified prescriber

cannot possibly obtain adequate informed consent for prescribing drugs that induce abortion from

a patient without screening the patient for contraindications to or additional risks from the drugs.

           In FDA’s 2021 response to the 2019 citizen petition submitted by the American

Association of Pro-Life Obstetricians and Gynecologists and the American College of

Pediatricians, FDA erroneously asserted that “it was inappropriate for [FDA] to mandate how

providers clinically assess women for duration of pregnancy and for ectopic pregnancy. These

decisions should be left to the professional judgment of each provider, as no method (including

TVS [transvaginal ultrasound]) provides complete accuracy. The approved labeling for Mifeprex

recommended ultrasound evaluation as needed, leaving this decision to the judgment of the

provider.”56 Further, FDA argued that “[c]ertified prescribers do not have to be physically present

with the patient as long as they have confirmed the patient’s gestational age and intrauterine

pregnancy. … Moreover, the evaluation of patients for contraindications to medical abortion does




56
     2021 CP Response at 11.

                                                   18
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                         Page 24 of 31 PageID 3399



not necessarily require direct physical contact with the certified prescriber and can be done in

different types of healthcare settings.”57

         These assertions ignore the best practices that are necessary to protect women’s health and

ensure that they are providing informed consent. The REMS requires that certified prescribers are

qualified to “assess” the duration of pregnancy and “diagnose” ectopic pregnancy, not simply

“confirm” a patient’s opinion or even the opinion of another provider that the patient’s pregnancy

is 10 weeks or less and that it is an intrauterine pregnancy. In a joint Committee Opinion, the

American College of Obstetricians and Gynecologists, The American Institute of Ultrasound in

Medicine, and the Society for Maternal - that the pregnancy is 10 weeks or less.58 In fact, women

often significantly underestimate gestational age.59

         The possibility that women receiving remote “care” may suffer from ectopic pregnancy,

which mifepristone cannot end, is even more troubling. An ectopic pregnancy (occurring outside

the uterus) can rupture the fallopian tube as the pregnancy progresses, causing bleeding, severe

pain, or death. Ectopic pregnancies can only be reliably diagnosed through an ultrasound

evaluation and confirmation of pregnancy.60 If a woman with an extrauterine pregnancy is given



57
   Id. at 12.
58
   Because relying upon LMP to determine gestation “assumes a regular menstrual cycle of 28 days, with ovulation
occurring on the 14th day after the beginning of the menstrual cycle, this practice does not account for inaccurate
recall of the LMP, irregularities in cycle length, or variability in the timing of ovulation. It has been reported that
approximately one half of women accurately recall their LMP. In one study, 40% of the women randomized to receive
first-trimester ultrasonography had … a discrepancy of more than 5 days between ultrasound dating and LMP dating.
See id. at 2, citing Wegienka G, Baird DD. A comparison of recalled date of last menstrual period with prospectively
recorded dates. J Womens Health (Larchmt) 2005;14:248–52; Savitz DA, Terry JW Jr, Dole N, Thorp JM Jr, Siega-
Riz AM, Herring AH. Comparison of pregnancy dating by last menstrual period, ultrasound scanning, and their combi-
nation. Am J Obstet Gynecol 2002;187:1660–6; Barr WB, Pecci CC. Last menstrual period versus ultrasound for
pregnancy dating. Int J Gynaecol Obstet 2004;87:38–9.
59
   Ellertson C., et al. (2000). Accuracy of assessment of pregnancy duration by women seeking early abortions. Lancet,
355(9207), 877-881. doi: 10.1016/S0140-6736(99)10170-3. Almost 15% of Atlanta women were in error by more
than two weeks when calculating gestation based on LMP. Mifepristone’s failures (requiring subsequent surgery) and
complications indisputably increase with increasing gestational age.
60
      See ACOG Practice Bulletin 191: Tubal Ectopic Pregnancy (Feb. 2018), available at
https://journals.lww.com/greenjournal/Fulltext/2018/02000/ACOG_Practice_Bulletin_No__191__Tubal_Ectopic.38
.aspx.

                                                         19
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                       Page 25 of 31 PageID 3400



mifepristone, she may believe the symptoms for ectopic pregnancy are simply the side effects of

drug-induced abortion, which are similar. As of June 30, 2021, at least 97 women with ectopic

pregnancies in the United States had been given mifepristone.61 Of these women, at least two bled

to death from an undiagnosed ectopic pregnancy.62 They likely did not recognize that their cramps,

abdominal pain, and perhaps vaginal bleeding were dangerous indications of an ectopic

pregnancy—not side effects expected in a mifepristone abortion.63 Half of women who experience

ectopic pregnancy do not have any risk factors.64 Yet, a woman is 30% more likely to die from an

ectopic pregnancy while undergoing an abortion than if she had an ectopic but had not sought an

abortion.65

         There are other known conditions that must be investigated before administering

mifepristone. A prescriber bears responsibility to diagnose and rule out contraindications (i.e.,

circumstances that make a treatment or medication unadvisable) prior to prescribing mifepristone;

however, a prescriber who does not physically meet with and examine a patient is not capable of

fulfilling the explicit REMS requirements or of ruling out additional contraindications to

mifepristone use. In addition to confirmed or suspected ectopic pregnancy, these physical

contraindications include undiagnosed adnexal mass; chronic adrenal failure; concurrent long-

term corticosteroid therapy; history of allergy to mifepristone, misoprostol, or other




61
   Mifepristone U.S. Post-Marketing Adverse Events Summary through 06/30/2021, RCM # 2007-525, NDA 020687,
ANDA 091178, https://www.fda.gov/media/154941/download.
62
   Id.
63
   Donna Harrison, M.D. & Michael J. Norton Testimony before the Iowa Board of Medicine, p. 3 (Aug. 21, 2013),
citing Postmarket Drug Safety Information for Patients and Providers, Questions and Answers on Mifeprex,
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm492705.htm.
64
   ACOG Practice Bulletin No. 191, supra.
65
   Atrash H.K., et al. (1990). Ectopic pregnancy concurrent with induced abortion: Incidence and mortality. American
Journal of Obstetrics & Gynecology, 162(3), 726-730. doi: 10.1016/0002-9378(90)90995-j.

                                                        20
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                     Page 26 of 31 PageID 3401



prostaglandins; hemorrhagic disorders or concurrent anticoagulant therapy (risk of heavy

bleeding); or inherited porphyrias.66

         Of particular concern to protect a patient’s future fertility and the health of her future

unborn children is the patient’s Rh status. Rh D-negative patients must be administered Rh D

immune globulin to prevent Rh isoimmunization in subsequent pregnancies, which can lead to

pregnancy loss or severe injury to unborn children.67 The 2017 ACOG practice bulletin on

Prevention of Rh D Alloimmunization states unequivocally that “Rh D immune globulin should be

given to Rh D-negative women who have pregnancy termination, either medical or surgical.”68 A

patient may not know if she is Rh negative. Women who do not presently want future pregnancies

may change their minds or wish to continue future planned or unplanned pregnancies. While FDA

argues in the 2021 CP Response that women can obtain Rh D immune globulin injections from

sources other than their mifepristone prescribers, the petition response fails to address the major

problem: Rh D-negative women who are not tested before a mifepristone abortion may never know

that they need the injection.

         A contactless approach to follow-up care is troubling. FDA wrongly relied upon an ACOG

statement when it responded that a “patient and [her] healthcare provider should determine the

best option for follow-up as part of the consultation and consent process.”69 It is inappropriate to

expect a patient to “determine” her best follow-up option before she has any idea how the FDA-

approved regimen will impact her. A de-emphasis on follow-up care increases risks of post-

abortion complications. The 2000 regimen’s requirement that women return approximately 14




66
    See mifepristone prescribing information.
67
   See ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017).
68
    ACOG Practice Bulletin 181: Prevention of Rh D Alloimmunization (Aug. 2017). See also SOGC Clinical Practice
Guidelines: Prevention of Rh Alloimmunization (No. 133, Sept. 2003).
69
    2021 CP Response at 13, citing ACOG Practice Bulletin Number 225, n. 22.

                                                      21
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                    Page 27 of 31 PageID 3402



days after ingesting mifepristone was considered necessary to ensure that all pregnancy tissue had

been passed.70 In their 2019 Citizen Petition, the American Association of Pro-Life Obstetricians

and Gynecologists (AAPLOG) and the American College of Pediatricians (ACPeds) explained

that “[t]his determination is crucial, because retained pregnancy tissue can lead to continued

bleeding and serious intrauterine infections. The return visit permits healthcare providers to ensure

that a patient is not experiencing these or other complications from the abortion procedure, and

that Rh-negative patients are administered Rhogam to protect future pregnancies.”71 Without this

visit, women may not recognize complications that could have been mitigated.

         At least 29 states permit only physicians to prescribe mifepristone,72 with 18 states

requiring the provider to be physically present with the patient.73 For example, the law in Alabama

states that the physical presence and care of a physician are necessary because “the failure and

complications from medical abortion increase with advancing gestational age, because the physical

symptoms of medical abortion can be identical to the symptoms of ectopic pregnancy, and because

abortion-inducing drugs do not treat ectopic pregnancies but rather are contraindicated in ectopic

pregnancies.”74 AAPLOG and ACPeds wrote that “[l]awmakers in these states recognize that

abortion providers cannot diagnose contraindications and cannot adequately care for their patients

through a videoconference. Fundamentally, telemedicine ‘may be legitimate when it comes to

discrete, document-based tasks such as reading X-rays,’ but it ‘is not the standard of care when it

comes to abortion or the management of miscarriage.’”75 Further,



70
   Mifeprex 2000 label, Day 14: Post-Treatment Examination.
71
    Citizen petition submitted by the American Association of Pro-Life Obstetricians and Gynecologists and the
American College of Pediatricians on Mar. 29, 2019, Docket No. FDA-2019-P-1534 at 10.
72
    Medication Abortion, Guttmacher Institute (Jan. 1, 2023), available at https://www.guttmacher.org/state-
policy/explore/medication-abortion.
73
   Id.
74
   Ala. Code § 26-23E-7.
75
   2019 Petition at 6, citing Harrison & Norton Testimony, p. 19.

                                                     22
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                  Page 28 of 31 PageID 3403



            Telemedicine abortion further distances women from the practitioners responsible for
            caring for them, and approval by FDA further absolves abortion providers of responsibility
            for the well-being of their patients. Promoting telemedicine abortion to women and
            adolescent girls in rural areas with limited access to healthcare is extremely dangerous—
            they have little recourse if they face known and predictable emergency complications such
            as severe hemorrhage.76

            A call to a hotline or prescriber who lives on the other side of the country will not help a

hemorrhaging woman reach an emergency room in time. It is nonsensical for FDA to acknowledge

that the dangers posed to women from mifepristone require elements to assure safe use, and yet

refuse to require prescribers to perform the most accurate evaluations of women who are seeking

the drug. Without these patient-specific determinations, certified prescribers cannot “know [] the

patient’s position,” and cannot therefore obtain adequate informed consent.77 A woman or girl

cannot consent to a chemical abortion without knowing the specific risks that mifepristone poses

to her life, health, and fertility.

       V.       Informed consent cannot be obtained because without in-person care, certified
                prescribers cannot adequately screen for coercion.

            Voluntary consent is essential to genuine informed consent. Consent obtained through

coercion is no consent at all. Abortion-inducing drugs are inherently different from other

prescribed drugs because of the increased risk that women may be coerced to abort their children.

This known risk of coercive abortion is greatly increased by the removal of the in-person

dispensing requirement from the mifepristone REMS, which is an important safeguard to ensure

that a provider has a chance to see and evaluate the woman’s voluntary consent to the

administration of the drug. Mifepristone’s post-marketing restrictions fail to protect women from

coercive partners and predators or ensure that women are giving consent.




76
     2019 Petition at 19, citing Harrison & Norton Testimony, p. 9.
77
      See Canterbury at 787.

                                                           23
     Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                      Page 29 of 31 PageID 3404



         The American College of Obstetricians and Gynecologists (ACOG) recognizes that

“reproductive coercion,” which “involves behavior intended to maintain power and control in a

relationship related to reproductive health by someone who is, was, or wishes to be involved in an

intimate or dating relationship with an adult or adolescent,” includes “pregnancy pressure.”

Pregnancy pressure includes “forcing a female partner to terminate a pregnancy when she does not

want to [] or injuring a female partner in a way that may cause a miscarriage.”78

         In a Committee opinion, ACOG advises that because violence is often linked to

reproductive coercion, “providers should screen women and adolescent girls for … reproductive

[] coercion at periodic intervals such as annual examinations, new patient visits, and during

obstetric care….”79 Surprisingly, the paper does not specifically cite an abortion appointment as

an important visit for coercion screening, even while stating that “[i]n 2007, the prevalence of

[intimate partner violence] was nearly three times greater for women seeking an abortion compared

with women who were continuing their pregnancies.”80

         With no in-person patient contact, certified prescribers lose all ability to ensure that abusers

are not sitting beside a phone pressuring their victims into requesting abortion-inducing drugs or

ordering the drugs themselves to lace their victims’ food or beverages. AAPLOG writes:

         Intimate partner violence is associated with abortion and with repeat abortions, and
         this is particularly true of adolescents and women being trafficked for sex. . . .
         Interaction with the health care system is an opportunity for these women to be
         identified and helped, but availability of medication abortion to abusers removes
         this opportunity.81

78
    “Reproductive and Sexual Coercion,” ACOG Committee on Health Care for Underserved Women opinion
(February 2013; Reaffirmed 2019), No. 554. American College of Obstetricians and Gynecologists.
https://www.acog.org/clinical/clinical-guidance/committee-opinion/articles/2013/02/reproductive-and-sexual-
coercion
79
   Id.
80
   Id., citing Bourassa D, Berube J. The prevalence of intimate partner violence among women and teenagers seeking
abortion compared with those continuing pregnancy. J Obstet Gynaecol Can 2007;29:415–23.
81
   AAPLOG Committee Op. No. 9, citing Hall M, Chappell LC, Parnell BL, Seed PT, Bewley S. Associations between
intimate partner violence and termination of pregnancy: a systematic review and meta-analysis. PLoS Med.
2014;11(1):e1001581; Bourassa D, Bérubé J. The prevalence of intimate partner violence among women and

                                                       24
 Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                          Page 30 of 31 PageID 3405




        To find out how common sexual coercion is, “the BBC commissioned a survey of 1,000

UK women aged 18-44 - and found that 50% said they had experienced at least one type of

reproductive coercion.” Further, “15% of women in [the] survey told [the surveyors] they'd

experienced pressure to terminate a pregnancy when they didn't want to.”82 Further, three percent

have had someone give them “something (tablets/ substance) to cause an abortion without [their]

knowledge or consent.” Five percent have experienced “physical violence with intention to force

a miscarriage / end a pregnancy.”83

        Tragically, most instances of coerced abortion84 are never publicly known and there is no

justice for the victims. In-person dispensing requirements provided a line of defense, albeit an

imperfect one, against coerced abortion. By failing to require in-person contact between certified

prescribers and their patients, FDA’s post-marketing restrictions cannot ensure that vulnerable

women and adolescents are protected against coercive partners and predators and can make

“independent, voluntary” decisions to use mifepristone.

                                               CONCLUSION

        For these reasons, Amici respectfully urge this Court to grant the Plaintiffs’ Motion for

Preliminary Injunction.

    DATE:        February 10, 2023


teenagers seeking abortion compared with those continuing pregnancy. J Obstet Gynaecol Can. 2007;29(5):415-423;
Laura J. Lederer CAW. The health consequences of sex trafficking and their implications for identifying victims in
healthcare facilities. Annals of Health Law. 2014;23(1):61-87.
82
   Alys Harte and Rachel Stonehouse, Reproductive coercion: ‘I wasn’t allowed to take my pill,’ BBC News (Mar. 13,
2022), https://www.bbc.com/news/newsbeat-60646285; Reproductive Coercion Poll – BBC Radio 4 – 8 March 2022,
Savanta ComRes, https://comresglobal.com/polls/reproductive-coercion-poll-bbc-radio-4-8-march-2022.
83
     Reproductive Coercion Poll – BBC Radio 4 – 8 March 2022, Savanta ComRes,
https://comresglobal.com/polls/reproductive-coercion-poll-bbc-radio-4-8-march-2022.
84
   See, e.g., https://www.washingtonpost.com/news/true-crime/wp/2018/05/19/a-doctor-laced-his-ex-girlfriends-tea-
with-abortion-pills-and-got-three-years-in-prison/;     https://www.womenshealthmag.com/health/a19974681/man-
spikes-girlfriends-drink-with-abortion-pill/;
https://www.cnn.com/2013/09/10/justice/girlfriend-abortion-case/index.html; https://people.com/crime/man-spiked-
pregnant-girlfriend-drink-abortion-drug/.

                                                       25
 Case 2:22-cv-00223-Z Document 82 Filed 02/10/23                Page 31 of 31 PageID 3406




                                                     Respectfully submitted,

                                                     Weycer, Kaplan, Pulaski & Zuber, PC

                                                     By: /s/ Murphy S. Klasing
                                                            Murphy S. Klasing
                                                            TX State Bar No. 00791034
                                                            2608 Hibernia Street
                                                            Dallas, Texas 75204
                                                            (713) 961-9045
                                                            (713) 961-5341 Fax
                                                            Email: mklasing@wkpz.com

                                                     ATTORNEYS FOR AMICUS CURIAE



                                CERTIFICATE OF SERVICE

        On February 10, 2023, I filed the foregoing document with the clerk of court for the United
States District Court, Northern District of Texas. I hereby certify that I have served the document
on all counsel and/or pro se parties of record by a manner authorized by Federal Rule of Civil
Procedure 5(b)(2) (ECF System).


                                                     /s/ Murphy S. Klasing
                                                     Murphy S. Klasing

                                                     Counsel for Proposed Amicus Curiae




                                                26
